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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:05-CR-163
v.
                                                        HON. ROBERT HOLMES BELL
CHARLES STEVEN SIMMONS,

              Defendant.
                                   /

                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #1228). Based on a

review of defendant’s motion, the Sentence Modification Report, submissions by counsel

on behalf of the defendant and the government, and the original criminal file, the Court

has determined that the motion should be denied as follows:

       Defendant was originally sentenced on January 9, 2006, to 121 months custody.

On October 26, 2009, the Court granted the defendant’s motion for reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2), Amendment 706, and sentenced defendant to 120

months, the mandatory minimum.

       The Sentencing Guidelines provide that “where a statutorily required minimum

sentence is greater than the maximum of the applicable guideline range, the statutorily

required minimum sentence shall be the guideline sentence.” USSG §5G1.1(b). Since
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Amendment 750 does not result in a lower guideline range due to the mandatory

minimum sentence imposed, defendant is not eligible for a sentence reduction under 18

U.S.C. §3582(c)(2) and USSG §1B1.10.




Date: May 14, 2012                      /s/ Robert Holmes Bell
                                        ROBERT HOLMES BELL
                                        UNITED STATES DISTRICT JUDGE
